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13   BASF Corporation et al.
14                         UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16    BASF CORPORATION, et al.,                Case No. 2:14-cv-06456 GW (Ex.)
17          Plaintiffs,                        PLAINTIFFS’ SUPPLEMENTAL BRIEF IN
                                               SUPPORT OF THEIR RESPONSES TO
18    v.                                       MOVING DEFENDANTS’ (1)
19                                             OBJECTIONS TO AND REQUEST TO
      APC INVESTMENT CO., et al.,
                                               DISREGARD PLAINTIFFS’ UNTIMELY
20          Defendants.                        OPPOSITION AND SUPPORTING
                                               EVIDENCE (DKT. NO. 951); AND (2)
21                                             OBJECTION TO PLAINTIFFS’
                                               IMPROPER SUR-REPLY IN
22
                                               CONNECTION WITH DEFENDANTS’
23                                             AFFIRMATIVE MOTIONS FOR
                                               SUMMARY JUDGMENT (DKT. NO. 982)
24
                                               Date:    March 14, 2022
25                                             Time:    8:30 a.m.
                                               Place:   350 W. 1st Street
26                                                      Courtroom 9D, 9th Floor
                                                        Los Angeles, CA 90012
27                                             Judge:   Hon. George H. Wu
28
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 1             Plaintiffs BASF Corporation, et al., submit the following Supplemental Brief in
 2   support of their previously filed Responses to two of Moving Defendants’ filings: (1)
 3   Moving Defendants’ Objections to and Request to Disregard Plaintiffs’ Untimely
 4   Opposition and Supporting Evidence (Dkt. No. 951); and (2) Moving Defendants’
 5   Objection to Plaintiffs’ Improper Sur-Reply in Connection with Moving Defendants’
 6   Affirmative Motions for Summary Judgment (Dkt. No. 982) (“Defendants’ MSJ).1
 7   I.        THIS COURT SHOULD DENY MOVING DEFENDANTS’ REQUEST
               TO DISREGARD PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MSJ
 8

 9             The Court should reject Moving Defendants’ request to ignore Plaintiffs’
10   Opposition for four reasons. First, Plaintiffs Memorandum of Points & Authorities
11   supporting their Opposition was filed on March 4, 2021, the due date, and thus it was
12   timely. See Dkt. No. 948. Both the docket and the date-stamp on the brief reflect this
13   fact.2 The evidentiary support for the Opposition was filed 66 minutes later and would
14   have been filed even sooner were it not for an apparent system error in rejecting one
15   of the dozens of documents being filed.3 Thus, only a portion of the Opposition filing
16   was arguably untimely.
17             Second, Moving Defendants suffered no prejudice because of the 66-minute
18   delay in receiving all the evidentiary support for Plaintiffs’ Opposition or in receiving
19   the correct version of the Memorandum of Points and Authorities a few hours later.
20   Moving Defendants still had the full six weeks allotted to them to prepare their
21   response to the Opposition—far more time than ordinarily allowed under the rules.
22
          1
23       Moving Defendants are Union Pacific Railroad Company (as to the Chrysler
     Source Property); PMC Specialties Group, Inc.; Ferro Corporation; Fireman’s Fund
24
     Insurance Company and Federal Insurance Company, as Insurers for Palley Supply
25   Company; Kekropia Inc.; and Halliburton Affiliates, LLC.
          2
26        It is true that the timely filed brief was missing a few citations and contained a
     duplicate footnote, but Plaintiffs recognized the oversight and promptly filed a
27   corrected version several hours later, at 10:28 a.m. on March 5, 2021. There is no
28   substantive difference between the timely filed version and the corrected version.
          3
              See Declaration of Laura A. Brayton, filed contemporaneously herewith.

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 1   See L.R. 7-9, 7-10. Moving Defendants never once expressed any need for additional
 2   time, the hearing on their motion was not delayed, nor has any other scheduled matter
 3   in this case been adversely affected by the 66-minute delay.
 4         Third, Moving Defendants offer no pertinent authority to support their request
 5   to discard Plaintiffs’ entire Opposition. In Heinemann v. Satterberg, 731 F.3d 914,
 6   915-16 (9th Cir. 2013), the lone case cited by Moving Defendants, plaintiff never filed
 7   any response to defendant’s motion for summary judgment. Id. at 916. Further, courts,
 8   including the Ninth Circuit, have refused to strike a late-filed submission that was
 9   days late. E.g., Ahanchian v. Xenon Pictures, Inc., 624 F.3d 1253, 1262 (9th Cir.
10   2010) (three-day delay in filing a summary judgment opposition “would not have
11   adversely affected either the summary judgment hearing date, which was ten days
12   away, or the trial, which was two and a half months away.”); see also Case v.
13   Midwestern Sports Med. & Orthopaedic Surgical Specialists, Ltd., No. 04 C 3650,
14   2005 WL 3470290, at *1-2 (N.D. Ill. Dec. 15, 2005) (opposition filed one day late did
15   not prejudice defendant’s ability to reply or substantially delay resolution of the
16   matter). Here, only a portion of the supporting papers were arguably late and even
17   then, by only minutes, not days.
18         Fourth, Moving Defendants’ request to grant their summary-judgment and
19   partial summary-judgment motions without considering Plaintiffs’ Opposition and
20   supporting evidence is excessively harsh and punitive, especially given the lack of any
21   prejudice to the Moving Defendants. The Court has the discretion to consider a
22   submission that is partially delayed. See L.R. 7-12. Plaintiffs respectfully submit that
23   the Court should do so here and deny Moving Defendants’ request.
24   II.   PLAINTIFFS DID NOT FILE AN IMPROPER SUR-REPLY
25         Moving Defendants wrongly claim that Plaintiffs’ Reply in Support of their
26   Motion for Partial Summary Judgment (Dkt. No. 973) is an “improper sur-reply” to
27   Moving Defendants’ Reply to Defendants’ MSJ (Dkt. No. 958). As explained in
28   Plaintiffs’ May 7, 2021 submission (Dkt. No. 984), this claim lacks merit. None of the


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 1   arguments or evidence that Moving Defendants complain about were newly raised in
 2   Plaintiffs’ Reply. Each purportedly improper statement in Plaintiffs’ Reply Brief
 3   responds to arguments asserted by Moving Defendants in their Opposition. See Dkt.
 4   No. 984 at pp. 2-4.
 5      Argument in Moving Defendants’
                                                           Response in Plaintiffs’ Reply Brief
              Opposition Brief
 6

 7    Dkt. No. 933, p. 94:11-16                          Dkt. No. 973, p. 60:9-61:20
 8    Citing Ferguson v. Arcata Redwood Co.,             Distinguishing Ferguson on grounds that
      LLC, No. C 03-03632 SI, 2005 WL                    the Ferguson court found evidence of
 9    1869445 (N.D. Cal. Aug. 5, 2005),                  disposal lacking because proffered
10    Union Pacific argues evidence regarding            evidence related to disposal at a different
      Chrysler’s operations after Union Pacific          property than the one underlying
11    sold the Chrysler Property cannot prove            plaintiff’s claim.
12    a disposal during Union Pacific’s
      ownership.
13
      Dkt. No. 933, p. 81:20-22                          Dkt. No. 973, p. 65, n. 32
14
      Union Pacific arguing that Plaintiffs’             Correcting Union Pacific’s
15
      expert, Mr. Robert Mutch, agrees with              mischaracterization of Mr. Mutch’s
16    Union Pacific that the general location of         expert report as supporting Union
      the clarifier associated with the Body             Pacific’s argument and citing to the
17
      Works Building was inside the former               evidence where Mr. Mutch stated the
18    Body Works Building overhang.                      clarifier was located outside and adjacent
                                                         to the former Body Works Building.
19
20    Dkt. No. 933, p. 81:8-84:4                         Dkt. No. 973, p. 66, n. 33, 34, 35

21
      Union Pacific arguing the clarifier was            Arguing the clarifier was installed
      installed after it owned the Chrysler              outside the Body Works Building before
22    Property.                                          Union Pacific sold the Chrysler Property,
23    Dkt. No. 933, p. 81:16-20                          and citing to evidence in support of
                                                         same.
24    Referring the Court to further detail in its
      affirmative motion arguing the clarifier
25
      was installed after Union Pacific owned
26    the Chrysler Property.
27    Dkt. 933, pp. 116:10-117:8                         Dkt. No. 973, p. 79:8-9
28    Kekropia arguing that Mr. Mutch relied             Arguing the Patsouras Defendants’
      on a “mystery memo” to support his                 expert, Dr. Jean Kulla, conceded the

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 1          Argument in Moving Defendants’
                                                        Response in Plaintiffs’ Reply Brief
                  Opposition Brief
 2
      theory that PCE on the Patsouras                findings in the so-called “mystery
 3
      Property migrated to groundwater.               memo,” might be accurate.
 4                                                    Dkt. No. 950-1, pp. 45:4-47:16
 5                                                    Same.
 6
      Dkt. No. 933, p. 119: 9-14 & Dkt. 931-          Dkt. No. 973, p. 81:12-14
 7    11, pp. 3-4                                     Arguing Dr. Kulla relied on inflated
 8    Kekropia arguing that Dr. Kulla showed          background levels to conclude the
      that certain metals were detected in soil       concentrations of metals detected in soil
 9
      at concentrations only “slightly above          at the Patsouras Property were only
10    background levels.”                             “slightly above background levels.”
11                                                    Dkt. No. 950-1, pp. 38:6-39:28
12                                                    Same.

13    Dkt. No. 933, p. 114:17-115:10, 120:6-          Dkt. No. 973, p. 85:15-21
      20                                              Arguing that Kekropia mischaracterized
14
      Kekropia arguing Mr. Mutch ignored              both Mr. Mutch’s analysis and what
15    groundwater data showing PCE                    constitutes upgradient monitoring wells.
16    concentrations in upgradient monitoring         Dkt. No. 950-1, pp. 48-49
      wells were greater than concentrations
17    detected in the groundwater monitoring          Same.
18    wells on the Patsouras Property.
19
              In all events, Defendants’ objections are now moot. The Court has ordered the
20
     parties to submit supplemental briefs in connection with each summary-judgment or
21
     partial summary-judgment motion currently pending. See Dkt No. 1012. Plaintiffs’
22
     supplemental brief in opposition to Defendants’ MSJ may include the arguments and
23
     evidence Moving Defendants mischaracterize as an improper sur-reply, and Moving
24
     Defendants have an opportunity in their own supplemental brief to respond.
25
     III.     CONCLUSION
26
              Plaintiffs respectfully request that the Court overrule Moving Defendants’
27
     Objections to and Request to Disregard Plaintiffs’ Untimely Opposition (Dkt. 951)
28
     and overrule their Objection to Plaintiffs’ Improper Sur-reply in Connection with

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 1   Moving Defendants’ Affirmative Motions for Summary Judgment (Dkt. 982). The
 2   Court should decide the parties’ cross-motions on their merits.
 3

 4    DATED: February 28, 2022               LATHROP GPM LLP
 5

 6
                                       By: /s/ Ronald A. Valenzuela
 7                                         Nancy Sher Cohen
                                           Ronald A. Valenzuela
 8
                                           Attorneys for Plaintiffs
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